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                 EXHIBIT D
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From:                  Alexander Eiseman[alex@zamacap.com]
Sent:                  2021-10-20T02:59:59Z
To:                    タケウチ トウジ[toji.takeuchi@hq.universal-777.com]
Subject:               Zama proposal
Attachment:            Zama proposal.pdf
Attachment:            Proposed services.xlsx

  Takeuchi-san,
  As per our conversation on Tuesday morning, please find attached Zama’s proposal for services. I
  very much appreciate your desire to retain us and look forward to continuing to work together.
  I’d be happy to discuss further at your convenience.
  Best regards,
  Alex
  Alexander H Eiseman
  Managing Partner
  Zama Capital
  900 Third Avenue Suite 201
  New York, NY 10022
  (o) 212-418-1235
  (c) 914-843-7668
  alex@zamacap.com
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   We rely on the value investing
   “margin of safety” principles
        to control downside risk




       We take advantage of the
     amplification of inefficiency
       in the markets caused by




                               We avoid
Universal Entertainment Corporation
Proposal Presentation – 2021
This presentation, furnished on a confidential basis to the recipients, does not constitute an offer to sell, or the solicitation of an offer to buy, any securities or investment advisory
services. It is intended exclusively for the use of the persons who are in attendance at this informational session, and it is not to be reproduced or redistributed to any other person
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Overview of Proposal
• Zama would like to congratulate Universal on successfully executing a merger agreement with 26
  Capital Acquisition Corp. Although there is a very large amount of work to do over the next
  several months to close/list on NASDAQ, we believe that a critical first milestone has been
  achieved and the stock price movement on Monday shows the strong positive view of the market

• We had expected that the time and amount of work to get to this stage would have been less;
  however, Zama was not willing to sign with any SPAC partner other than the best fit for Universal
  and their unique asset

• Normally, Universal would have formally hired an investment bank that would have provided
  similar services for a large fee agreed from the beginning

• As long-term investors in Universal, we were happy to make introductions for no cost and decided
  to prioritize getting the best result for Universal rather than focusing on fees

• Given the huge amount of additional remaining work required, we believe that Zama can only
  provide the same high-quality assistance for appropriate services if properly compensated for our
  time and resources


                                                                                                      2
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 Zama would like to continue to offer the full range of its services for
 compensation that is significantly below other similar arrangements
• Zama Capital would like to propose total compensation of $10mm, including $2.5mm
  cash upfront and $7.5mm paid upon completion of work (open to multiple forms of
  cash or equity consideration)

• At the transaction value of $2.6bn for Okada Manila, typical total cash transaction
  expenses would be approximately $54-87mm (see comparable deal fees on next page)
    • Zama has been extensively involved to date and has institutional knowledge and
       relationships with the other advisors and with 26 Capital that would be challenging to
       replace
    • Zama’s proposed compensation of $10mm would represent only 0.38% of the
       transaction value, and result in total transaction expenses being between 44-66%
       lower than normal, depending on how it is measured (see below)
 (In $M)

 Comparison Based on Avg. Total Transaction Expenses             Comparison Based on Avg. Transaction Expense Percentage
 Okada Manila Enterprise Value                          2,600    Okada Manila Enterprise Value                              2,600
 Avg. Total Deal Expenses for Similar-Sized Deals          54    Avg. Expenses as %age of EV for Similar-Sized Deals        3.36%
 As %age of EV                                          2.08%    Total Expected Transaction Expenses                           87

 Total OM estimated expenses, including Zama               30    Total OM estimated expenses, including Zama                   30
 Proposed expenses as a percentage of deal amount       1.15%    Proposed expenses as a percentage of deal amount           1.15%
 Discount to standard expense amount                   44.44%    Discount to standard expense amount                       65.68%   3
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 Recent Comparable SPAC Merger Transactions
Precedent SPAC Deal Economics
(Recent deals, $1bn-$3.5bn in EV)

                                                                         Merger
                                                                      Execution                  Net                                  Cash Deal
                                                        Enterprise     announce      Closed   Sponsor Sponsor Equity   Cash Deal   Fees as %age
SPAC                               Target               Value ($M)         date        Date    Shares     Ownership         Fees          of EV
M3-Brigade                         Syniverse                  2,850   8/16/2021    Ongoing        7.0          3.7%        130.0           4.6%
Atlas Crest                        Archer                     2,525   2/10/2021   9/17/2021      12.5          3.0%         63.0           2.5%
Sustainable Opportunities          DeepGreen                  2,378    3/4/2021    9/9/2021       6.8          2.0%         60.0           2.5%
Qell Acquisition Corp              Lilium                     2,374   3/30/2021   9/15/2021       7.7          1.7%         50.0           2.1%
Supernova Partners Acq. Co.        Offerpad                   2,368   3/18/2021    9/1/2021      10.1          3.8%         60.0           2.5%
InterPrivate III Finance Co        Aspiration                 1,943   8/18/2021     Ongoing       6.8          3.0%         49.0           2.5%
TPG Pace Tech                      Nerdy                      1,700   1/29/2021   9/20/2021       9.0          5.0%         55.0           3.2%
Motive Capital                     Forge                      1,601   9/13/2021     Ongoing      10.4          7.5%         60.0           3.7%
Rotor Acquisition                  Sarcos Robotics            1,300    4/6/2021   9/27/2021       6.4          3.6%         50.0           3.8%
CM Life Sciences II                Somalogic                  1,234   3/29/2021     Ongoing       6.9          4.0%         35.0           2.8%
Environmental Impact Acquisition   GreenLight                 1,230   8/10/2021     Ongoing       5.2          3.3%         30.0           2.4%
Rice Acquisition Corp.             Archaea                    1,148    4/7/2021     Ongoing       6.2          5.0%         62.0           5.4%
Osprey Technology                  Black Sky                  1,106   2/18/2021   9/10/2021       7.9          5.3%         53.0           4.8%
Centricus Acquisition              Aroit                      1,026   5/12/2021     Ongoing       8.6          6.0%         40.0           3.9%
D8 Holdings                        Vicarious Surgical         1,100   4/15/2021   9/20/2021       8.6          5.6%         33.0           3.0%
Cerberus Telecom Acq. Mgmt.        KORE Wireless              1,010   3/12/2021   9/28/2021       7.3          8.1%         39.0           3.9%
Average                                                       1,681        N/A         N/A        8.0          4.4%         54.3           3.4%

 PROPOSED OKADA MANILA TRANSACTION

~------------------------------------------------------------------------------
 26 Capital Acquisition Corp. Okada Manila
                                2,600 10/15/2021 Ongoing    6.9   2.4%   30.0       1.2%

~-------------------------------------------------------------------,
1%age from comp average         54.7%                    -13.7% -44.4% -44.8%
                                                                             ---------
                                                                                  -65.7%


 Source: Public filings
                                                                                                               Proposed expense on OM’s
                                                                                                               deal (including Zama) is far       4
                                                                                                                    lower than average
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Zama Capital Strategy Advisors - Project Tiger
Primary work expected to be required through close


       TASK                                                                                                           Responsibility
       Post-Transaction Announcement through Listing and Post-Listing
       TRLEI Lease
       Valuation and analysis of utilized and excess land                                                              UEC/Zama
       Structuring of new lease arrangement                                                                            UEC/Zama
       Documentation of new lease agreement                                                                          UEC/Zama/Legal


       Intercompany Debt Push Down
       Analysis of intercompany debt/ordinary course receivables and payables                                          UEC/Zama
       Negotiation of intercompany debt treatment                                                                      UEC/Zama
       Structuring of intercompany debt treatment/tax considerations                                                 UEC/Zama/Legal
       Documentation of new intercompany debt arrangement                                                            UEC/Zama/Legal


       Governance and Compensation
       Create/review UEC independent board member candidate list                                                       UEC/Zama
       Ensure adherence to Nasdaq independence standards                                                             UEC/Zama/Legal
       Review 26 Capital board member candidate list                                                                   UEC/Zama
       Coordinate background checks for board member candidates                                                        UEC/Zama
       Compose press release announcing selection of Okada Manila board members                                        UEC/Zama
       Compensation benchmarking for executive/employee stock compensation pool                                        UEC/Zama
       Develop an executive incentive compensation plan that is consistent with US listed company standards            UEC/Zama
       Allocation of employee compensation pool and determination of vesting schedules and metrics                     UEC/Zama


       Business Strategy Consulting
       Evaluation of different business development opportunities                                                      UEC/Zama
       Analyze potential uses for excess land (including contacting and evaluating strategic development partners)     UEC/Zama
       Review and assess proposals from 26 Capital                                                                     UEC/Zama
       Advise on capital markets messaging to foreign equity investors for UEC                                         UEC/Zama
Communication/Marketing Materials
                          Case Post-Signing
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Prepare talking points/FAQ's for discussions with key investors                                     UEC/Zama
Media plan development                                                                          UEC/Zama/26 Capital
Review roadshow presentation materials/FAQ's and iterative review with SPAC                     UEC/Zama/26 Capital
Prepare Investor/Buy-Side Target List                                                           UEC/Zama/26 Capital
Prepare Sell-Side Target List                                                                   UEC/Zama/26 Capital
Reach out to target investors for participation in roadshow meetings                            UEC/Zama/26 Capital
Schedule roadshow meetings                                                                      UEC/Zama/26 Capital
Prepare investor day presentation and iterative review with SPAC                                UEC/Zama/26 Capital
Prepare materials for posting on UEC Manila investor website                                        UEC/Zama
Select vendors for go-forward public earnings communications                                        UEC/Zama


PCAOB Audit Completion
Liase with UHY for completion of key audit milestones                                               UEC/Zama
Selection of financial statement preparation vendor                                                 UEC/Zama
SEC Proxy Process (F-4)              Case 1:23-cv-02250-LGS Document 33-4 Filed 04/25/23 Page 10 of 12
Assit in preparing analysis, market data, marketing language, and background information materials for proxy   UEC/Zama/26 Capital/Legal
Review of draft proxy statements                                                                               UEC/Zama/26 Capital/Legal
Assist in review and response to first round SEC proxy comments                                                UEC/Zama/26 Capital/Legal
Assist in review and response to second round of SEC proxy comments                                            UEC/Zama/26 Capital/Legal
Compose press release announcing definitive proxy statement filed/effectiveness                                UEC/Zama/26 Capital/Legal


Analyst Education & Marketing - Analyst Day
Develop analyst day agenda & attendee list                                                                       UEC/Zama/26 Capital
Draft save the date                                                                                              UEC/Zama/26 Capital
Prepare analyst day presentation                                                                                 UEC/Zama/26 Capital
Coordinate Webcast Logistics                                                                                          UEC/Zama
Company model review (financial projections and KPIs)                                                                 UEC/Zama
Prepare FAQ talking points                                                                                            UEC/Zama
Notify analysts of "save the date"                                                                               UEC/Zama/26 Capital
Finalize expected Q&A list                                                                                            UEC/Zama
Presentation training and practice                                                                                    UEC/Zama
Model maintenance/ update KPIs                                                                                        UEC/Zama
Post presentation follow up with each analyst for feedback and continued education                                    UEC/Zama
Investor Relations Website           Case 1:23-cv-02250-LGS Document 33-4 Filed 04/25/23 Page 11 of 12
Obtain vendor proposals                                                                                  UEC/Zama
Assess proposals & select a vendor                                                                       UEC/Zama
Engage vendor & obtain draft contract                                                                    UEC/Zama
Negotiate & sign contract                                                                                UEC/Zama


Bell Ringing Ceremony at Exchange
Coordinate bell ringing ceremoney/handle logistics                                                       UEC/Zama
Bell ringing ceremony at Nasdaq exchange                                                                 UEC/Zama


Exchange Agent Engagement
Exchange agent candidate list                                                                            UEC/Zama
Negotiate terms and select exchange agent                                                                UEC/Zama
Coordinate KYC process with exchange agent                                                               UEC/Zama
Public Company Vendor Selection
                            Case& Management
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Webcast services                                                                                 UEC/Zama
Wire (press) services                                                                            UEC/Zama
Conference calls & transcripts                                                                   UEC/Zama
Market Data Services (including surveillance/holder analysis)                                    UEC/Zama
Transfer agent                                                                                   UEC/Zama
